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                              UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MASSACHUSETTS

GHASSAN ALASAAD, NADIA
ALASAAD, SUHAIB ALLABABIDI, SIDD
BIKKANNAVAR, JÉRÉMIE
DUPIN, AARON GACH, ISMAIL ABDEL-
RASOUL aka ISMA’IL KUSHKUSH,
ZAINAB MERCHANT, MOHAMMED
AKRAM SHIBLY, MATTHEW WRIGHT,
and DIANE MAYE ZORRI,

              Plaintiffs,
                                                     Civil Action No. 17-cv-11730-DJC
       v.
                                                     Hon. Denise J. Casper
KEVIN McALEENAN, Secretary of the U.S.
Department of Homeland Security, in his
official capacity; JOHN SANDERS, Acting
Commissioner of U.S. Customs and Border
Protection, in his official capacity; and
MATTHEW T. ALBENCE, Acting Director
of U.S. Immigration and Customs
Enforcement, in his official capacity,

              Defendants.



                   PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT

       Pursuant to Rule 56 of the Federal Rules of Civil Procedure, all Plaintiffs respectfully

move the Court to enter summary judgment in their favor against all Defendants on their claims

in their Amended Complaint, ECF No. 7. Plaintiffs file the following documents in support of

the instant Motion: Plaintiffs’ Memorandum in Support of Their Motion for Summary Judgment

and Plaintiffs’ Statement of Undisputed Material Facts in Support of Their Motion for Summary

Judgment with accompanying 47 exhibits, including the declarations of all 11 Plaintiffs and the

declaration of Plaintiffs’ attorney Sophia Cope. Plaintiffs also file an Assented-To Motion to File

Under Seal Records Covered by Protective Order.

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Request for Oral Argument

       Pursuant to Local Rule 7.1(d), Plaintiffs request oral argument. This Court has currently

scheduled a hearing on July 18, 2019, to hold oral argument on the instant Motion. ECF No. 88.


Respectfully submitted:                                           Dated: April 30, 2019

Adam Schwartz *                  /s/Esha Bhandari                   Jessie J. Rossman
Sophia Cope*                     Esha Bhandari*                     BBO #670685
Saira Hussain*                   Hugh Handeyside*                   Matthew R. Segal
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                                                                    *Admitted pro hac vice
                                                                    Counsel for Plaintiffs


                                CERTIFICATE OF SERVICE

       I certify that on April 30, 2019, a copy of the foregoing was filed electronically via the

Court’s ECF system, which effects service upon counsel of record.


                                                     /s/ Esha Bhandari

                                                     Esha Bhandari




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